           Case 1:19-cv-03831-CJN Document 19 Filed 09/22/21 Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                            )
    ASCENDIUM EDUCATION SOLUTIONS, )
    INC.,                                   )
                                            )
                Plaintiff,                  )                Case No. 1:19-cv-03831-CJN
             v.                             )
                                            )
    MIGUEL CARDONA, Secretary of Education, )
    et al.,1                                )
                                            )
                Defendants.                 )
                                            )

                                   JOINT STATUS REPORT

         Pursuant to the Court’s Order of September 17, 2021, the parties, having conferred, report

that the Final Rule at issue in this case became effective as scheduled on July 1, 2020. ECF 18 at

108, 84 Fed. Reg. 49788, 49791.

         In response to the COVID-19 pandemic, the Department has paused interest accrual and

collections on defaulted Federal Family Education Loan (“FFEL”) Program loans held by

Guaranty Agencies. The relevant Dear Colleague Letter, DCL-GEN-21-03 (updated May 24,

2021), is attached as Exhibit A. The pause involves, among other things, suspending certain

otherwise regulatorily mandated Guaranty Agency activities which Plaintiff contends are

“collection activities,” and for which the Final Rule at issue in this case prevents the assessment

of collection fees. Subsequent to issuing the Dear Colleague Letter, the Department announced “a

final extension of the pause” on interest accrual and collection activities, to on January 31, 2022.2



1
  Miguel Cardona has been substituted for Betsy DeVos as defendant in his official capacity
pursuant to Rule 25(d) of the Federal Rules of Civil Procedure.
2
  See Biden Administration Extends Student Loan Pause Until January 31, 2022, available at
https://www.ed.gov/news/press-releases/biden-administration-extends-student-loan-pause-until-
january-31-2022 (last visited September 22, 2021)
                                                 1
          Case 1:19-cv-03831-CJN Document 19 Filed 09/22/21 Page 2 of 2




         The parties agree that the collections pause described in the Dear Colleague Letter does

not affect the justiciability of this case.




Dated: September 22, 2021                           Respectfully submitted,

                                                    BRIAN M. BOYNTON
                                                    Assistant Attorney General

                                                    MARCIA BERMAN
                                                    Assistant Branch Director

                                                    /s/ Cormac A. Early
                                                    CORMAC A. EARLY
                                                    Trial Attorney, U.S. Department of Justice
                                                    Civil Division, Federal Programs Branch
                                                    1100 L Street, N.W.
                                                    Washington, D.C. 20005
                                                    Tel.: (202) 616-7420
                                                    cormac.a.early@usdoj.gov

                                                    Counsel for Defendants



                                                    /s/ Kevin St. John

                                                    KEVIN ST. JOHN
                                                    Bell Giftos St. John LLC
                                                    5325 Wall Street, Ste. 2200
                                                    Madison, WI 53718-7980
                                                    Ph. 608-216-7990
                                                    Fax 608-216-7999
                                                    Email: kstjohn@bellgiftos.com

                                                    Counsel for Plaintiff
